                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF VIRGINIA
                                           AT ROANOKE

    UNITED STATES OF AMERICA                                   Criminal Action:
                                                               Date:                        06/19/2018
    VS.               •                                        Judge:                Joel Hoppe, USMJ
    AsVL-~ \LQna.__eoss-08'                                    Court Reporter:           FTR S. Moody
     len i I<~ 1 a_ H.t.-LLt r - ll                            Deputy Clerk:                 S. Moody
    PresenUC s~                                                Probation Off.:          ,u,- '(.Q__ Tera
                                                               Type of Hearing:      DETENTION HR

                                         COUNSEL OF RECORD                                                                          I   ,
                                                                                     en~-~~ B~ l H-a.ny (ICLC]d Of-
                                                                                                                                1
    USA Attorney:                                   Atty for Deft: 'Tev-ry
     ~Lcu.JL~                                                                 (Oy-r~ 'P1 V1neL(
     "Run~
                                                 WITNESSES

    1.                                                         1.

    2.                                                         2.

    3.                                                         3.

                                         DETENTION HEARING
    I
    _Parties present for hearing on Gov'ts Motion for Detention Pending Trial
    _Advised as to rights      , L                  ·                                    /
    _Govt argument for dtn__lt!Govt withdraws mtn for dtn __ Deft argument for release_V_



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    ~Molioo lor Detentiu1T"I'end1ng   I nat DENIED and Conditions of    R~t as follOws: ~
    1)        no viol law   2)     appear trial...       3)    remain residence         {1£)/~d
    4)        USPO supv     5)     no drugs              6)    urinalysis               oYl      t..):.l   ~ l
    7)
    10)
              no guns       8)
                            11)
                                   no dogs               9)
                                                               12)
                                                                                         pr?J,   nfJ )'.. .£:j,
                                                                                             ..._~           v       -



    _Advised as to penalties/sanctions in open~                                                       ~

    DEFT TO NEXT APPEAR FOR           (}J;J 0~       .          BEFORE JUDGE      ~
    ORDERS FORTHCOMING: ~ /
    CJA 20 Voucher__ Bond~              Temp Dtn __           Dtn Pending Trial__   Other_


                                                                            ~~sct- 3:~                     PYY)
                                                                                             (3T~n)
